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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 09-CV-23691-SEITZ-O’SULLIVAN

   AMERICAN HOME ASSURANCE COMPANY,
   a New York Corporation

           Plaintiff / Counterclaim Defendant,

   v.

   PENINSULA II DEVELOPERS, INC., a Florida
   corporation, GRYPHON CONSTRUCTION, LLC,
   a Florida limited liability company, and SKYLINE
   SYSTEMS, a Florida corporation,

           Defendants / Counter-Plaintiff /
           Third-Party Plaintiff,

   WESTCHESTER FIRE INSURANCE COMPANY, a
   New York corporation, and LANDMARK AMERICAN
   INSURANCE COMPANY, an Oklahoma corporation,

         Third-Party Defendants.
   _____________________________________________/

        PENINSULA II DEVELOPER INC.’S RESPONSE AND MEMORANDUM OF LAW
          IN OPPOSITION TO THIRD-PARTY DEFENDANT WESTCHESTER FIRE
             INSURANCE COMPANY’S MOTION FOR SUMMARY JUDGMENT
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           Peninsula II Developers, Inc. (“Peninsula II”), submits this memorandum of law in

   opposition to Third-Party Defendant Westchester Fire Insurance Company’s (“Westchester”)

   motion for summary judgment.

           I.    INTRODUCTION

           This is an insurance coverage action in which the parties seek declaratory relief

   concerning their respective rights and obligations with respect to property damage claims arising

   out of the existence of Chinese Drywall (“CDW”) in a condominium project in Aventura,

   Florida. The action was initiated by plaintiff, American Home Assurance Company (“American

   Home”), which issued the primary or first layer of general liability coverage in the Owner

   Consolidated Insurance Program (“OCIP”) covering the project. Peninsula II, the developer of

   the project, Gryphon Construction, the general contractor, and Skyline Systems, the drywall

   subcontractor who supplied and installed CDW, are all insureds under the policies issued in

   connection with the OCIP.

           While each insured is treated separately for coverage purposes (e.g. claims by one

   insured against another are covered), the limits available under each policy are shared. American

   Home has now agreed to pay a full products-completed operations aggregate limit to indemnify

   Peninsula II, Gryphon and Skyline from CDW property damage claims at the project. American

   Home has also agreed to reimburse defense costs incurred by those three insureds to defend

   against CDW property damage claims through June 2, 2011. As such, American Home has

   exhausted its coverage obligations with respect to these claims.      The focus of the action,

   therefore, is now on third-party defendant Westchester, which issued the first layer of umbrella

   (excess) coverage under the OCIP for claims involving the project.




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           With some exceptions discussed below, the OCIP general liability policies at issue

   provide what is relatively standard coverage for contractors, developers and owners.

   Specifically, the policies cover each insured’s legal obligation “to pay damages because of . . .

   ‘property damage’”. “Property damage” is defined as physical injury to tangible property or loss

   of use of tangible property. Accordingly, the basic insuring agreements of the OCIP policies are

   triggered (and the insureds meet their burden of proof in this litigation) if the insureds

   demonstrate liability for damages “because of” physical injury to, or loss of use of, any portion

   of the condominiums by reason of CDW. To our knowledge, there is no dispute that there has

   been widespread physical injury to, and loss of use of, the project by reason of the existence of

   CDW. For this reason, there can be no good faith dispute that the insureds can establish a prima

   facie case for coverage.

           In its motion for summary judgment, Westchester has raised a myriad of diverse

   arguments against coverage in the hope that one might succeed. Westchester bears the burden of

   proof with respect to most, if not all, of these arguments (insurers bear the burden of proof with

   respect to the application of an exclusion). As set forth below, most of the contentions raised by

   Westchester are easily refuted as a matter of law. The remainder raise disputed issues of

   material fact. None of Westchester’s arguments comes close to justifying entry of judgment in

   its favor at the summary judgment stage.

           One additional note at the outset. While defendants Peninsula II, Gryphon and Skyline

   are each insureds under the policies, they are separate and distinct insureds, with separate and

   distinct rights to coverage. As noted, Peninsula II developed the project, Gryphon was the

   general contractor in its construction, and Skyline was the drywall subcontractor who procured

   and installed the CDW. Although Westchester virtually ignores the outstanding claims against



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   Gryphon and Skyline, those claims are critical to an evaluation of the overall coverage available

   under the OCIP for CDW claims at the project.

             For example, Westchester attempts to disclaim coverage by repeatedly noting that there

   are no third party claims against Peninsula II with respect to units it still owns in the project (and

   cannot sell until the CDW within them and resulting property damage is addressed).

   Westchester ignores the critical fact, however, that Peninsula II has made Section 558 claims and

   filed suit against both Gryphon and Skyline with respect to damages arising out of the CDW in

   those units. Westchester insures Gryphon and Skyline as well as Peninsula II, and is responsible

   to indemnify them against liability to Peninsula II. Therefore, whether the Westchester policy

   covers damages to units still owned by Peninsula II cannot be decided solely by analyzing the

   coverage available to Peninsula II. To the contrary, Peninsula II’s claims for damage to units it

   owns is clearly covered as a third party claim against Gryphon and Skyline under Westchester’s

   policy.     Indeed, American Home treats the payment of its products-completed operations

   aggregate limit as a resolution of claims by Peninsula II against Skyline – claims which

   Westchester barely mentions – but which are central to the coverage issues it raises. In short,

   Westchester’s request for entry of a judgment with respect to its coverage obligations, by

   ignoring claims against its other insureds, cannot be sustained.

             II.    MATERIAL FACTS

             The facts material to this motion are stated in the accompanying Peninsula II’s Response

   to Third-Party Defendant Westchester Fire Insurance Company’s Statement of Material Facts,

   which is incorporated herein by reference. The essential facts are as follows:

             Peninsula II was the developer of the Peninsula II Condominium, a 223-unit luxury

   condominium project, in Aventura, Florida (“the Project” or “the Condominium”). SOF #



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   1PEN. Peninsula II hired Gryphon as the general contractor to construct the Condominium, and

   in turn, Gryphon hired Skyline as the drywall subcontractor. SOF # 2PEN. By contract,

   Gryphon agreed to indemnify Peninsula II for damages caused by its acts or omissions or those

   of its subcontractors. SOF # 3PEN. In turn, by contract, Skyline agreed to indemnify both

   Gryphon and Peninsula II for damages caused by its own acts or omissions or the acts or

   omissions of its drywall suppliers and manufacturers. SOF # 4PEN.

           To insure the Project, Peninsula II set up an Owner Controlled Insurance Program

   (“OCIP”), sometimes referred to as a “wrap up” program. SOF # 5PEN. An OCIP, like that

   here, typically insures all project participants including the owner, general contractor, and

   enrolled subcontractors, in an effort to ensure consistency of coverage and limits.            As

   Westchester’s lead underwriter William Schmaltz explained:

           [T]he overriding concept [of an OCIP] is that the owner of a construction project
           wants to make sure that the coverage they desire is in place for all the contractors
           that are involved, and therefore one policy is negotiated and purchased, and
           everyone, the owner, the general contractor, and usually any subcontractors on-
           site, are all insured in this policy, which gives the owner a considerable amount of
           comfort in knowing that the coverage is in place.

   Response to SOF #34. See also Controlled Insurance Program (CIP)” at http://www.irmi.com/

   online/insurance-glossary.

           Under the OCIP, American Home issued three consecutive commercial general liability

   (“CGL”) policies covering the Project for the period from May 15, 2005 through March 30,

   2008. SOF #34.      The primary layer of coverage provided limits of $2 million per occurrence

   and a $4 million aggregate for products-completed operations claims. SOF #35. Westchester is

   the first layer umbrella (excess) insurer and issued one policy covering the project period from

   May 15, 2005 to 2008. SOF #37. Westchester’s policy provides $25 million in coverage. Id.

   Landmark Insurance Company sits excess to Westchester for the same period and provides an


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   additional $25 million in coverage. SOF #5PEN. Each layer of coverage also includes a five

   year completed operations tail. Id.

           Each of the OCIP policies insures Peninsula II, Gryphon, and Skyline, and each of the

   policies provides coverage for Peninsula II, Gryphon and Skyline’s legal liability for damages

   because of property damage at the Peninsula II Condominium. SOF#6PEN. Each of the policies

   also contains a “separation of insureds” provision which means that each project participant is

   treated as if it is the only insured, and a suit by one insured against another does not defeat

   coverage. Id. While each insured is treated separately under the policies, however, there is only

   one set of limits available for each policy which is shared by all insureds. Id.

           Construction of the Condominium began in January 2005. SOF #5. Skyline installed

   drywall, including Chinese drywall, in individual units between June 2006 and May 2007.

   Response to SOF #6. In February 2009, unit owners at the Project began complaining of

   property damage arising out CDW contained in their respective units. SOF # 7PEN – 9PEN.

   The unit owners notified Peninsula II of this damage and served Section 558 notices on

   Peninsula II demanding that Peninsula II remedy all damages, defects and deficiencies under

   Florida law. Id. Peninsula II notified American Home, Westchester and Landmark, as well as

   both Gryphon and Skyline, of these claims and demanded a defense and indemnification. SOF

   #9PEN. Shortly thereafter, the Peninsula II homeowners association sent Peninsula II a Section

   558 notice for damages associated with the common areas of the Project. SOF #8PEN. That

   notice was also forwarded to the insurers and to Gryphon and Skyline for defense and

   indemnification. SOF #9PEN. Subsequently, Peninsula II filed suit against Gryphon and Skyline

   demanding that Gryphon and Skyline indemnify it from and against all property damage arising

   in connection with the CDW at the Project, including damage to units that Peninsula II still owns



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   (and cannot sell by reason of CDW).1 Response to SOF#4. Gryphon and Skyline tendered each

   of the 558 notices, as well as the complaint filed against them by Peninsula II, to American

   Home and Westchester for coverage. Id.

             In response to the homeowner complaints, Peninsula II investigated the claims and

   ultimately determined that 181 of the 223 units and certain common areas of the Condominium

   contained CDW which was causing certain metal components within the Condominium to

   corrode and fail. Response SOF #10; SOF#10PEN; 13PEN. In consultation with various

   experts, Peninsula II developed a comprehensive CDW remediation protocol and began to enter

   into settlement agreements with residents whereby Peninsula II agreed to repair that property

   damage. SOF #19PEN. Peninsula II reviewed the scope of these Agreements with American

   Home in August 2010 before the first Agreement was executed. Id. To date, over $18 million

   has been incurred to remediate damage by reason of the CDW. SOF #20PEN. It is expected that

   when all the remedial work has been completed, Peninsula II will have incurred over $34 million

   in costs. Id. This amount includes defense costs, direct costs of repair, consultant costs, costs to

   relocate unit owners and/or tenants displaced during remediation to temporary housing, costs

   incurred by Peninsula II to maintain units which cannot be sold due to the presence of CDW,

   losses sustained by Peninsula II in an under market bulk sale of certain units that Peninsula II

   was forced to incur as a result of the CDW, and other losses. Id.

             American Home initially provided a defense to Peninsula II for the CDW claims and

   Westchester reserved its rights. SOF #16PEN. On December 11, 2009, however, American



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       Peninsula II made Section 558 claims and demanded a defense and indemnity from Gryphon and Skyline during
       2009. Those claims were tendered to the OCIP carriers. Peninsula II delayed filing its Complaint against
       Gryphon and Skyline until 2011 in the hope that the parties could resolve this dispute without the need for
       additional litigation. Because the claims were not resolved amicably, Peninsula II had no choice but to file suit.
       In any event, Westchester has known of Peninsula II’s claims against Gryphon and Skyline for more than two
       years.

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   Home filed this action for Declaratory Judgment seeking a declaration that it owed no duty to

   defend or indemnify Peninsula or the other insureds, Gryphon and Skyline, with respect to the

   CDW claims. SOF # 17PEN. Peninsula II, Gryphon and Skyline filed counterclaims against

   American Home and third party complaints against Westchester. SOF # 18PEN. Westchester

   answered, denying coverage for the CDW claims. Id.

           On June 2, 2011, American Home agreed to pay Peninsula II $1.6 million for defense

   costs incurred through June 2, 2001, and to pay $4 million in indemnity for CDW property

   damage claims. SOF # 22PEN. American Home also agreed to reimburse Gryphon and Skyline

   for defense costs they have incurred through that date. Id.

           Under the terms of the settlement agreement and the American Home policy, American

   Home’s payment of $ 4 million reflects a payment of a full products-completed operations

   aggregate, and thus exhausts its obligations in connection with CDW property damage claims at

   the Project. SOF # 23PEN.

           III.   LEGAL STANDARD AND INSURANCE LAW PRINCIPLES

           The Court should not grant summary judgment unless it is clear that there are no material

   facts in dispute such that judgment can be entered as a matter of law. Scottsdale Ins. Co. v.

   Shageer, 2010 U.S. Dist. LEXIS 126659, *8 (S.D. Fla. Dec. 1, 2010) citing Anderson v. Liberty

   Lobby, Inc. 477 U.S. 242, 248, 255 (1986), Adickes v. S.H. Kress & Co., 398 U.S. 144, 157

   (1970). Any doubts in this regard should be resolved against the moving party - - Westchester.

   Id. At this stage, the court’s function is not to determine credibility, weigh the evidence or

   determine the truth of the truth of the matter but rather determine if there are material facts in

   issue. Id. at 249, 255. Thus, summary judgment is not appropriate where, as here, there are




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   genuine issues of material facts that must be resolved by a fact finder. See Shageer, 2010 U.S.

   Dist. LEXIS 126659.

           Under California law, interpretation of an insurance policy is a question of law, decided

   under settled rules of contract interpretation. See Ameron Int’l Corp. v. Ins. Co. of State of

   Pennsylvania, 252 P.3d 1020, 1024 (Cal. 2010). Courts enforce the clear and explicit meaning

   of provisions of an insurance policy, interpreted in their ordinary and popular sense. See id at

   1024.       To the extent the policy language is susceptible to more than one reasonable

   interpretation, however, it is ambiguous and that ambiguity is construed against the insurer and

   in favor of coverage “so as to protect the insured’s reasonable expectation of coverage.” Id. The

   insured bears the burden to establish that the occurrence forming the basis of its claim is within

   the basic scope of insurance coverage. Aydin Corp. v. First State Ins. Co., 959 P.2d 1213, 1214

   (Cal. 1998). “[O]nce the insured has made this showing, however, the burden is on the insurer to

   prove the claim is specifically excluded.” Id.

           IV.      ARGUMENT

           A.       Peninsula II is entitled to coverage under the broad grant of coverage
                    provided by the OCIP polices.

                    1.    Peninsula II has met its burden of establishing coverage.

           The American Home primary policy provides coverage to the insured Project participants

   as follows:

           We will pay those sums that the insured becomes legally obligated to pay as
           damages because of “bodily injury” or “property damage” to which this insurance
           applies.

   Westchester Ex. 46 at 5; Ex. 47 at 3; Ex. 48 at 10. The “bodily injury” or “property damage”

   must be caused by an “occurrence.” Id. The policies define “occurrence” as “an accident,




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   including continuous or repeated exposure to substantially the same general harmful conditions”2

   while “property damage” is defined as:

                    a.       Physical injury to tangible property, including all resulting loss of
                             use of that property … [ or]

                    b.       Loss of use of tangible property that is not physically injured . . .

   Id. at 19; at 15; at 23. In short, American Home’s coverage obligations are triggered where an

   insured is legally obligated to pay damages “because of” physical injury to or loss of use of

   tangible property by reason of continuous exposure to substantially the same harmful conditions.

   Westchester’s policy follows form in all respects.

           There is no dispute that coverage is triggered here. For example, it is undisputed that

   CDW caused metal components within the Condominium to corrode (physical injury to tangible

   property), that Peninsula II has lost the ability to sell units affected by CDW (loss of use of

   tangible property), or that unit owners need to be relocated during repairs (loss of use).

   SOF#13PEN; 20PEN. Thus, there is clearly “property damage” by reason of the CDW.

   Furthermore, Peninsula II, Gryphon, and Skyline all have legal liability for this property damage.

   Specifically, Peninsula II, as the developer, is legally liable to unit owners for damage to their

   respective units caused by a construction or product defect. Gryphon must indemnify Peninsula

   II for the acts, omissions and liabilities of its subcontractors, including Skyline. SOF#3PEN.

   And Skyline must indemnify Gryphon and Peninsula II for defective products installed in the

   Condominium - - the CDW. SOF#4PEN. This includes vicarious liability for the negligence of

   manufacturers and/or suppliers of CDW. Consequently, coverage has clearly been triggered

   under the basic insuring agreement. Indeed, American Home has agreed to pay a full $4 million


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    The definition of “occurrence” was amended by endorsement to add “In the event of continuing or progressive
   “bodily injury” or “property damage” over any length of time, such “bodily injury” or “property damage” shall be



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   products-completed operations aggregate limit on behalf of Skyline for that liability. SOF

   #22PEN. As explained below, this exhausts the primary layer of insurance and triggers the

   Westchester excess layer.

                    2.      Because the primary layer is exhausted, the first excess layer provided
                            by Westchester is now triggered.

           American Home’s agreement to pay a full $4 million products-completed operations

   aggregate limit exhausts the primary layer of insurance. Once the primary layer of insurance is

   exhausted, Westchester’s excess obligations are triggered. Specifically, under the Westchester

   insuring agreement, Westchester agrees:

           To pay on behalf of the “Insured” for that amount of loss which exceeds the
           amount of loss payable by “Underlying Insurance” described in the Declarations
           [the American Home policy], but the company’s obligations shall not exceed the
           limit of liability stated in Declaration 6.
   Westchester Ex. 49 at 2. Westchester’s lead underwriter admitted that “If [American Home]

   paid $4 million for products/completed operations, their policy would be exhausted.” Response

   to SOF #36.

           Therefore, it should be undisputed that American Home’s payment of its $4 million

   products-completed operations aggregate exhausts the primary layer and triggers Westchester’s

   excess coverage to the extent that loss is in excess of $4 million. As noted above, Peninsula II

   has provided an expert report demonstrating more than $34 million of damages because of the

   existence of CDW at the Project. Taking into account the payments for both defense and

   indemnity made by American Home, that damages number is now approximately $28 million,

   exclusive of interest, attorneys fees and costs. As such, Westchester’s policy is triggered and the




   deemed to be one “occurrence”, and shall be deemed to occur only when such “bodily injury” or “property damage”
   first commenced.” See Westchester Ex. 46 at 45; Ex. 47 at 41; Ex. 48 at 48..

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   burden shifts to Westchester to prove that an exclusion precludes coverage. Aydin Corp., 959

   P.2d at 1214.

           B.      Westchester’s Policy Provides Coverage for the Damages at Issue;
                   Westchester cannot meet its Burden of Proving that an Exclusion Applies.

                   1.    The OCIP Policies Provides Coverage.

           As noted above, general liability policies like those issued under the Peninsula II OCIP

   broadly provide coverage for damage because of property damage, but it is also important to

   focus here upon three subsets of that broad coverage grant.

           First, the policies provide coverage for “products” claims. Specifically, the policies

   provide coverage for “all ‘property damage’ occurring away from premises you own or rent and

   arising out of ‘your product.’” Westchester Ex. 46 at 19; Ex. 47 at 15; Ex. 48 at 22. While

   Skyline did not manufacture CDW, as set forth further below it is liable for claims arising out of

   deficiencies in that product. Therefore, to the extent that CDW supplied by Skyline caused

   property damage at the Project, the policies provide products coverage for those damages.

           Second, the policies cover “completed operations” claims. Id. Broadly stated, these are

   claims arising out of an insured’s completed “work”. Westchester has conceded that at least with

   respect to Skyline, the CDW claims at issue are completed operations claims. SOF #24PEN.

   While “products” and “completed operations” claims are distinct, the American Home primary

   layer of coverage includes an aggregate limit for products and completed operations claims

   together. Westchester Ex. 46 at 4; Ex. 47 at 41; Ex. 48 at 18. An aggregate limit is the total

   amount that a carrier will pay for certain types of claims regardless of the total number of claims

   asserted or the total liability of the insureds. American Home has agreed to pay that aggregate

   limit. SOF# 22PEN-23PEN.




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           Third, the policies include what is commonly known as “contractual indemnity

   coverage.” In short, while there is an exclusion for liability assumed by contract (Exclusion b. in

   the American Home policy), the exceptions to that exclusion include liability that the insured

   would have in absence of the contract (e.g. for negligence), and liability assumed under an

   “insured contract”. See Westchester Ex. 46 at 6; Ex. 47 at 4; Ex. 48 at 11. An “insured contract”

   includes that portion of any agreement under which an insured assumes the tort liability of

   another. Id. at 17; at 13-14; at 20-21. Most importantly, the definition of an “insured contract”

   includes indemnification agreements. Id. As is typical on most construction projects, Skyline

   agreed to indemnify Gryphon and Peninsula II for all claims and damages arising from or by

   reason of its work. SOF #4PEN. Skyline is thus liable under an “insured contract” for claims

   arising out of CDW at the project, including the tort liability of CDW manufacturers and

   suppliers. Importantly, the OCIP policies, including the Westchester policy which follows form

   to American Home on this point3, expressly insure that liability. Nonetheless, Westchester

   simply ignores that liability in its moving papers. In sum, with respect to the property damage

   claims asserted by Peninsula II against Skyline, they are covered under the Westchester policy as

   a products claim, as a completed operations claim, and as a contractual indemnity claim. These

   coverages are addressed further below.

           In this context, Westchester’s assertion that Gryphon and Skyline have made no

   monetary claims against it is misleading. See SOF #3. While Peninsula II has and is incurring

   costs to resolve unit owners’ claims and to remediate property damage at the Project, it seeks

   indemnification from Gryphon and Skyline. Thus, while Gryphon and Skyline are not currently

   seeking affirmative monetary recoveries from Westchester for damage payments they have made


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     See Westchester Ex. 49 at 21 (“Except as otherwise stated herein…this policy shall apply in like manner as
   [American Home].”)

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   to date, they are seeking coverage for Peninsula II’s claims. Response to SOF #3. And, in this

   action, all three insureds are seeking to resolve issues regarding, among other things, the extent

   of insurance coverage available for Peninsula II’s claims against Gryphon and Skyline. In short,

   at issue is not only what coverage exists for unit owner and HOA claims against Peninsula II, but

   what coverage exists for Peninsula II’s claims against Gryphon and Skyline.

                           a.    The Westchester Policy covers Products Claims.
           Again, under the American Home policy a products claim for purposes of the products-

   completed operations aggregate limit is defined as “‘property damage’ occurring away from

   premises you own or rent and arising out of ‘your product’. . . .” The Westchester Policy follows

   form in this respect.

           Here, it is undisputed that Skyline installed a defective product - - CDW - - at the

   Condominium. It is further undisputed that Skyline is liable for that product (including vicarious

   liability for the negligence of CDW manufacturers), and that this defective product caused

   significant damage to building components within the Condominium and loss of use of portions

   of that Condominium (property damage). Skyline does not own or rent the property that has

   sustained damage. As such, property damage arising from the defective CDW is covered as a

   products claim.

                           b.    The Westchester Policy covers Completed Operations Claims.

           The damages at issue here are further covered under the Westchester Policy as completed

   operations claims. Under the American Home and Westchester policies, damages fall within the

   completed operations definition where they arise out of “your work” that has been completed.

   As to Skyline, Westchester has stated that the property damages at issue arose out of Skyline’s

   completed work. SOF #24PEN. Indeed, Westchester has expressly argued that the claims fall

   within the completed operation period as against Skyline. DE-146 at 10-11.     Specifically, in its


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   Motion to Dismiss, which is also pending before the Court, Westchester takes the position that

   “property damage taking place after each drywall completion but before overall building or unit

   completion would be a completed operation with respect to Skyline.”          DE 146 at 10-11.

   Westchester confirms this position in its interrogatory response dated February 8, 2011. See

   SOF #23. Accordingly, there can be no good faith dispute concerning the existence of completed

   operations claims covered by the Westchester Policy.

           Furthermore, the claims of Peninsula II and Gryphon should also be treated as completed

   operations claims. The only evidence in the record of physical damage to tangible property

   caused by CDW is damage to property discovered in early 2009 and subsequently, after all

   operations were completed on the Project. SOF #11PEN-15PEN. Westchester’s reliance on

   Bayley Construction v. American Guarantee and Liability Ins. Co, where, unlike here, it was

   undisputed that damage incepted before the policy period at issue, is misplaced. See Westchester

   Ex. 59 at 3-4, 2010 WL 4272454 *2-3 (W.D. Wash. Oct. 15, 2010).

           As to Peninsula II, Westchester attempts to challenge this completed operations position

   by speculating that property damage first commenced at some unknown time after Skyline

   installed the drywall but before all work was completed. Opp. Mem. at 16-17. Westchester,

   however, offers no evidence - - and cannot offer any evidence - - to support its position. Again,

   the only evidence in the record of property damage is property damage occurring in February

   2009 and thereafter.    Westchester’s speculation alone cannot defeat coverage.       Given the

   existence of a completed operations claim as to Skyline, and that the only credible evidence of

   when property damage occurred here was when it was first discovered in 2009, Peninsula II has

   clearly established that this CDW property damage claim falls within completed operations

   coverage, and Westchester’s position must fail as a matter of law.



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                          c.       The Westchester Policy provides Contractual Indemnity
                                   Coverage.
           The Westchester policy in following form to American Home on this point specifically

   provides contractual indemnity coverage for damages arising from the tort liability of another

   party that the insured has assumed in a contract. Here, Skyline agreed under its subcontract with

   Gryphon to indemnify Gryphon and Peninsula II for its own negligence and that of its

   downstream suppliers and manufacturers from whom it obtained the defective drywall. SOF #

   4PEN. Gryphon, in turn, agreed under the construction contract with Peninsula II to indemnify

   Peninsula II for its and Skyline’s negligence, including the negligence of Skyline’s downstream

   suppliers. SOF #3PEN. In light of the “insured contract” provisions, Westchester’s policy

   provides coverage for damages arising from the liability of those downstream parties and

   suppliers.

                  2.      The number of occurrences is irrelevant because American Home is
                          paying the Aggregate Products Completed Operations limit.

           Westchester argues that its policy is not triggered because this case involves multiple

   occurrences. Specifically, Westchester argues that the damage to each affected unit in the

   building constitutes a separate occurrence, apparently in an effort to invoke multiple occurrences

   at the primary layer of OCIP coverage. (Opp. Mem. Pp. 7-11). The number of occurrences,

   however, is irrelevant because American Home paid a full aggregate products-completed

   operation limit. As noted above, while each named insured is treated as separate and distinct for

   purpose of a coverage analysis, the limits of the OCIP policies apply jointly to all insureds.

   Thus, once the aggregate limit of a primary or underlying layer of coverage is exhausted, it is

   exhausted as to all insureds.

           Here, the American Home Policy provides limits of $2 million per occurrence and a $4

   million products-completed operation aggregate. In other words, while there is only $2 million


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   available under the American Home policy for any single occurrence, the aggregate amount is

   the most that American Home will pay in total for multiple occurrences or claims. Thus, because

   American Home paid a full products-completed operations aggregate limit, there is no more

   products-completed operations coverage available under the Policy. As such, the Policy is

   exhausted and the Westchester policy is triggered.

           Indeed, Westchester’s lead underwriter confirmed this analysis: “If [American Home]

   paid $4 million for products/completed operations, their policy would be exhausted.” Response

   to SOF # 36. He did not qualify the statement by conditioning it on the number of occurrences.

   It is a simple application of the excess policy language: When the aggregate limit of the primary

   policy is paid, the primary policy is exhausted. American Home has agreed to pay that aggregate

   limit for products and completed operations coverage, so the primary layer is exhausted. Thus,

   Whether there are two occurrences or 182 occurrences, the maximum amount of loss payable by

   American Home under the products completed operations aggregate is $4 million. The Court

   should accordingly reject Westchester’s argument that its policy is not triggered.

                  3.      Westchester’s prematurity arguments fail because the underlying
                          insurance is exhausted and the insureds have incurred losses
                          exceeding the amount of underlying insurance.

                          a.     Westchester’s argument that the claims at issue are premature
                                 ignores critical policy language and relies on caselaw that is
                                 inapplicable.
           First, as both parties addressed in detail in its response to Westchester’s Motion to

   Dismiss, the Policy provision Westchester relies upon to support its prematurity argument is

   Condition C, which states in full:

           LIABILITY OF THE COMPANY WITH RESPECT TO ANY ONE
           OCCURRENCE SHALL NOT ATTACH UNLESS AND UNTIL THE
           INSURED, OR THE INSURED’S UNDERLYING INSURER, HAS PAID THE
           AMOUNT OF UNDERLYING INSURANCE STATED IN DECLARATIONS 5.
           IF THE COMPANY IS OBLIGATED TO INDEMNIFY THE INSURED, THE


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           INSURED MUST MAKE A DEFINITE CLAIM FOR LOSS WITHIN TWELVE
           (12) MONTHS AFTER THE INSURED HAS PAID ANY AMOUNT OF
           EXCESS LOSS, AS STATED IN DECLARATION 6; OR AFTER THE
           INSURED’S LIABILITY SHALL HAVE BEEN MADE CERTAIN BY FINAL
           JUDGMENT OR BY WRITTEN AGREEMENT OF THE INSURED, THE
           CLAIMANT AND THE COMPANY. ANY SUBSEQUENT PAYMENTS
           MADE BY THE INSURED ON ACCOUNT OF THE SAME OCCURRENCE
           SHALL BE PAYABLE BY THE COMPANY WITHIN THIRTY DAYS (30)
           DAYS AFTER ADDITIONAL CLAIM IS MADE BY THE INSURED, AND
           AFTER THE INSURED HAS SHOWN PROOF IN CONFORMITY WITH
           THIS POLICY.

   Westchester Ex. 49 at 2. See Opp. Mem. at 5 n.37.

           Westchester ignores critical language in arguing that this language makes a final

   judgment or qualified settlement necessary preconditions to its liability. The first sentence states

   that Westchester’s liability attaches when the insured or the “underlying insurer[] has paid the

   amount of underlying insurance stated in Declarations 5.” That amount is $4 million, which

   American Home has agreed to pay in full. Accordingly, the stated condition for attachment has

   been met.

           The language Westchester relies on does not, as Westchester erroneously asserts,

   precondition coverage on the existence of either an underlying judgment or qualified settlement.

   Westchester’s argument is an attempt to rewrite Condition C of the “Pay on Behalf of

   Amendment” as follows:

           LIABILITY OF THE COMPANY WITH RESPECT TO ANY ONE
           OCCURRENCE SHALL NOT ATTACH UNLESS AND UNTIL THE
           INSURED, OR THE INSURED’S UNDERLYING INSURER, HAS PAID THE
           AMOUNT OF UNDERLYING INSURANCE STATED IN DECLARATIONS 5.
           IF THE COMPANY IS OBLIGATED TO INDEMNIFY THE INSURED, THE
           INSURED MUST MAKE A DEFINITE CLAIM FOR LOSS WITHIN TWELVE
           (12) MONTHS AFTER THE INSURED HAS PAID ANY AMOUNT OF
           EXCESS LOSS, AS STATED IN DECLARATION 6; OR AFTER THE
           INSURED’S LIABILITY SHALL HAVE BEEN MADE CERTAIN BY FINAL
           JUDGMENT OR BY WRITTEN AGREEMENT OF THE INSURED, THE
           CLAIMANT AND THE COMPANY. ANY SUBSEQUENT PAYMENTS
           MADE BY THE INSURED ON ACCOUNT OF THE SAME OCCURRENCE


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             SHALL BE PAYABLE BY THE COMPANY WITHIN THIRTY DAYS (30)
             DAYS AFTER ADDITIONAL CLAIM IS MADE BY THE INSURED, AND
             AFTER THE INSURED HAS SHOWN PROOF IN CONFORMITY WITH
             THIS POLICY.

   Id. (emphasis added). This revision, however, is not what the plain language provides.

             The second sentence when read in full refers to the required timing of the notice of the

   claim submission, i.e., if Westchester is obligated to indemnify, then Peninsula II must make a

   claim for loss within twelve months after 1) the insured has paid any amount of excess loss

   above the amount of underlying insurance, or, 2) the insured’s liability is made certain by a) a

   final judgment, or b) written agreement of the insured, the claimant, and the company. In no

   manner does this provision require that the insured’s liability be determined by a final judgment

   or a qualified settlement before Westchester’s obligations are triggered. Indeed, in reading the

   provision as it was intended to be read there is only one precondition to the attachment of

   Westchester’s obligations: the insured or the insured’s underlying insurer has paid the amount of

   the underlying insurance. Not only has American Home agreed to pay the underlying amount of

   insurance, but Peninsula II has already paid over $18 million of the expected $34 million in

   damages, well in excess of all underlying insurance. Thus, the only pre-condition to attachment

   has been met. The alternative trigger for timing of a notice of loss is therefore irrelevant.

             Second, as Peninsula II made clear in its opposition to Westchester’s Motion to Dismiss

   wherein it addressed this same point in detail, the California Supreme Court’s 2001 decision in

   Powerine I4 does not apply here. See DE-156 at 12-13, incorporated herein by reference.

   Westchester argues that under Powerine I, damages must arise from a court proceedings for

   coverage to attached. There, however, the court addressed a CGL policy form where neither




   4
       Certain Underwriters at Lloyds, London v. Superior Court (Powerine I), 24 Cal. 4th 945 (2001).

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   “suit” nor “damages” was defined and construed the terms narrowly.5 Accordingly, the holding

   is expressly limited to that policy language, which is not present here.

           Where, as here, suit is defined, the narrow definition of “damages” as construed in

   Powerine I does not apply. This was made clear in Ameron Int’l Corp. v. Insurance Co. of State

   of Pennsylvania, 150 Cal. App. 4th 1050 (Cal. Ct. App. 2007). There, the court addressed policy

   language identical to that in the American Home policies and distinct from that in Powerine I.

   Accordingly, in this different context, the court did not adopt the Powerine I construction of

   “damages.” Id. at 1061-62. Rather, the court ruled that the “broad definition of “suit”…compels

   an equally broad definition of “damages.” Id. at 1075. The court then adopted the definition of

   “damages” set forth by the California Supreme Court in AIU Ins. Co. v. Superior Court, 51

   Cal.3d 807, 799 P.2d 1253 (1990): ‘compensation [“encompass[ing] any remunerative payment

   made to an aggrieved party”] in ‘money,’ ‘recovered’ by a party for ‘loss’ or ‘detriment’ it has

   suffered through the acts of another.” Id. Peninsula II’s claims for the remediation and repair of

   property damage at the Condominium fall squarely within this definition. Damages are not

   limited to “money ordered by a court.”

           In sum, Westchester’s contention that California law requires there to be a court

   judgment that awards damages high enough to reach its attachment point before it can have any

   coverage obligation is wholly without merit.

           Westchester further argues that the Powerine I court mandates that damages must arise

   from a tort liability of the insured in order for coverage to attach. Not only is this inaccurate, it



   5
     24 Cal. 4th 945 at 964. See also Ameron Int’l Corp., 242 P.3d 1020 at 1031 (J. Kennard concurring) (calling the
   Foster-Gardner decision on which Powerine I was based “far outside the mainstream of American insurance law”
   and remarking that the court’s “implicit[] reject[ion in Ameron of ] Foster-Gardner’s reasoning that “suit” [when
   undefined] unambiguously refers only to court proceedings” “at least a step in the right direction” in overruling
   Foster-Gardner.)

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   ignores the fact that the Westchester policy expressly provides coverage for an insured’s

   contractual indemnity.

           First, Powerine I does not hold that “damages” must arise from tort liability.      See

   Powerine I at 946 (“the duty to indemnify may embrace all money ordered by a court, including

   money ordered by a court under the law of torts, and in some cases, money ordered by a court

   under the law of contracts.”) Second, as discussed above, the Westchester Policy expressly

   provides contractual indemnity coverage for damages arising from the tort liability assumed by

   an insured pursuant to an indemnification provision. That is precisely what Skyline did here. By

   contract, Skyline agreed to indemnify Peninsula II and Gryphon for the tort liability of CDW

   suppliers and manufacturers including the damages arising from the manufacturers and suppliers

   of the defective drywall. As such, the damages at issue do arise from tort liability which has

   been assumed by Skyline.

           Furthermore, the American Home settlement payment of $4 million to Peninsula II is on

   behalf of Skyline for that liability. SOF #22PEN. Accordingly, Westchester’s reliance on

   Bennett v. Centerline Homes, Inc., a state trial court decision with no precedential value, is

   misplaced. Westchester’s argument based on the Bennett case also fails because Peninsula II

   asserts other claims against Skyline besides negligence.

                            b.   Repair costs accrue on a daily basis; the total costs are
                                 projected to a reasonable degree of certainty.
           Westchester contends that because Peninsula II has not remediated all of the units and

   thus does not have actual costs for each unit, there is no way for the Court to rule on

   Westchester’s obligations to indemnify Peninsula II for those projected costs. This is wrong.

   First, Peninsula II has already incurred losses of more than $18 million.




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            Unlike the cases Westchester relies on,6 Peninsula II’s claims are not based on some

   remote possibility that a future injury may happen at some point down the road. Although

   Westchester may dispute the extent of damage in the building, Westchester cannot – and does

   not – deny that there is property damage.                   At this point, the remediation efforts at the

   Condominium are approximately half-way complete, with costs accruing on a daily basis. See

   Response to SOF # 25. Peninsula II’s expert damages report presents Peninsula II’s total

   projected damages, including a reasonable estimate for the portion of the repair program that is

   still underway. That estimate results in exhaustion of Westchester’s excess layer, so Peninsula II

   only seeks the policy limit of $25 million from Westchester. To the extent Westchester disputes

   the reasonableness of Peninsula II’s repair methods, and/or any particular cost of repair, these

   disputed issues are issues for trial and not ones that can be decided on summary judgment. See

   Shageer, 2010 U.S. Dist. LEXIS 126659.

                     4.       Westchester’s Damage to Project Exclusion does not preclude
                              coverage: the damages at issue are covered as products claims,
                              completed operations and under the policy provision for contractual
                              indemnity coverage.

            Westchester next argues that the purpose of the Damage to Project Exclusion is so that its

   excess policy does not cover damage to the Project occurring during the course of construction

   that would otherwise be covered by a builders risk policy. A builders risk policy typically covers


   6
     See Westchester Memorandum 12 n. 74 citing Emory v. Peeler, 756 F.2d 1547, 1552 (11th Cir. 1985) (“mere
   possibility that [plaintiff juror criticized by judge after voting against death penalty] will once again be summoned,
   qualified, and selected to sit as a juror in a capital case before [defendant judge] and perhaps subjected to a
   reenactment of the scenario that occurred in this case is too remote to be labeled a controversy”); S. Jackson & Sun,
   Inc. v. Coffee, Sugar & Cocoa Exch. Ins., 24 F.3d 427 (2d Cir. 1994) (no controversy between parties where
   warehouse owner sued coffee exchange for declaration that the exchange implemented its rules improperly in order
   to advance warehouse owner’s position in a separate, unrelated proceeding). The third case cited by Westchester,
   MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118 (2007), in which the Supreme Court reiterated general principles
   regarding declaratory judgment and reversed the lower courts’ dismissal of a declaratory judgment action does not
   support dismissal here. Cf, GTE Directories Publ’g Corp. v. Trimen Am., Inc., 67 F.3d 1563, 1569 (11th Cir. 1995)
   (“That the liability may be contingent does not necessarily defeat jurisdiction of a declaratory judgment action.
   Rather, “the practical likelihood that the contingencies will occur and that the controversy is a real one should be
   decisive in determining whether an actual controversy exists.”) (citations omitted).

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   damages to a project while it is still under construction, and terminates as of the completion of

   construction. General liability policies with completed operations tails are purchased, among

   other reasons, so that there is coverage for project participants of property damages claims

   arising after completion, like those here.

           Westchester argues that the damages here occurred during construction and as such, the

   builders risk insurer must pay. Westchester then suggests that Steadfast is Peninsula II’s builders

   risk insurer and that Steadfast has paid Peninsula II’s damages, citing Westchester Exs. 54-57.

   Steadfast is not the builders risk insurer.     Rather, Steadfast provided what is known as

   “Subguard” to Gryphon and Peninsula. Subguard is not an insurance policy at all, but is the

   equivalent of a performance bond. In short, while it effectively guaranties certain aspects of a

   subcontractor’s performance, subguard does not protect to the subcontractor at all. To the

   contrary, Steadfast retains the right to pursue claims against defaulted subcontractors, which

   claims are themselves potentially covered by the OCIP general liability policies. Coverage is not

   lost under an insurance policy providing coverage for property damage because the insured is

   also bonded. Indeed, on most major construction projects, the subcontractors, and often the

   general contractor are bonded. As noted, bonds are not insurance; instead, they provided certain

   protections to the purchaser of the bond (e.g. a project owner) against defaults in performance by

   the bonded party.     They provide no coverage to bonded parties.        The fact that a project

   participant was bonded certainly does not mean that it loses insurance coverage. Such a finding

   would essentially strip construction contractors of insurance, and effectively destroy the manner

   in which risk transfer and management is structured on most major construction projects.

           Westchester then argues again that these damages are not covered under the products

   completed operations hazard because Peninsula II owns the property that has been damaged. As



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   set forth above, not only does this argument ignore the fact that property damage has occurred in

   condominium units owned by third party homeowners, it ignores the plain language of the

   American Home Completed Operations Extension Endorsement, which provides that “Coverage

   provided under this extension applies to the owner of the project [Peninsula II] notwithstanding

   paragraph a. of the definition of the products-completed operations hazard.” Westchester Ex. 46

   at 48; Ex. 47 at 44, Ex. 48 at 51. The Westchester policy follows American Home on this point.

   Westchester Ex. 49 at 17. So, Westchester’s arguments that Peninsula II’s claims do not fit

   within that definition are misplaced. (Opp. Mem. Pp. 15-18) .

           Finally, as also set forth above, Westchester offers no credible evidence that any property

   damage occurred during construction. To the contrary, Westchester has previously asserted that

   at least as to Skyline, damage occurred after its work was complete and therefore not during

   construction. And with respect to Peninsula II and Gryphon, the only record evidence shows

   damage occurring in 2009, well after all construction was completed.

                  5.      Other Exclusions relied upon by Westchester are equally unavailing
                          and do not preclude coverage.

                          a.     Exclusion j(1) does not apply to damage to third party owned
                                 units and does not apply to Gryphon and Skyline at all.
           Westchester relies on Exclusion j(1), which excludes coverage for property damage to

   “property you own, rent, or occupy,” in an effort to deduct from the damage calculation those

   costs incurred to repair inventory units still owned by Peninsula II because they contain CDW

   and have not yet been repaired. Westchester concedes that the exclusion does not apply to the

   property damage in third party owned units. Once again, Westchester ignore the fact that

   Gryphon and Skyline did not own, rent or occupy any of the property at issue, and therefore as to

   them as insureds, this exclusion clearly does not apply with respect to any of the damages at

   issue. In short, Westchester covers Gryphon and Skyline’s liability for damages to units still

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   owned by Peninsula II. Furthermore, Peninsula II is entitled to coverage for its liability to all

   third party unit owners. Westchester cannot meet its burden that j(1) unambiguously precludes

   coverage.

                               b.       Exclusion j(6) expressly does not apply to completed operations
                                        claims and therefore does not apply here.
             Nor can Westchester meet its burden with respect to Exclusion j(6). Exclusion j(6)

   expressly precludes coverage for property damage only to “that particular part” of property that

   must be repaired because “your work” was incorrectly performed on it. It is well settled that the

   words “that particular part” refer only to that part of the work that is defective, not to damage

   resulting from the defective work.7 Here “that particular part” of the work which is defective is

   the CDW. Peninsula II is not seeking coverage for the costs of replacement drywall. Peninsula

   II is, however, seeking coverage for all property damage arising from that defective drywall.

   Such costs are not subject the Exclusion j(6).

             In addition, Exclusion j(6) does not apply to property damage to completed operations.

   Westchester Ex. 46 at 8-9, Ex. 47 at 6; Ex. 48 at 13. As discussed above, the damage here falls

   within the completed operations hazard. Therefore this Exclusion does not apply.

                               c.       Exclusion j(6) does not bar Peninsula II’s damages for
                                        carrying costs and lost profits.
             Westchester also relies on Exclusion j(6) in its attempt to bar Peninsula II’s claim for

   coverage of certain costs incurred to carry and maintain units which could not be sold because of

   the existence of CDW, and its loss on the bulk sale of certain units which did not contain CDW,

   but were surrounded by units which did. Exclusion j(6), however, has absolutely no application


   7
       See, e.g., Mid-Continent Cas. Co. v. JHP Dev. Inc., 557 F.3d 207, 215 (5th Cir. 2009) (holding that the phrase
       “that particular part” narrowed the reach of the exclusion to parts of the property that were themselves the
       defective work.); Fortney & Weyngandt, Inc. v. Am. Mfrs. Mut. Ins. Co., 595 F.3d 308, 311 (6th Cir. 2010) (“The
       opening words of the exclusion—namely, “[t]hat particular part”—are trebly restrictive, straining to the point of



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   to those damages. As discussed above, Exclusion j(6) precludes coverage for the repair or

   replacement of “that particular part” of your work which is defective - - here the CDW. It has no

   bearing on Peninsula II’s claims for damage due to the “loss of use” of other property because of

   the existence of CDW. Rather, Peninsula II’s claim for and entitlement to these damages derives

   from the language of the basic insuring agreement. Under that language, the insurers agree to

   pay “those sums that the insured becomes legally obligated to pay as damages because of

   “property damage” to which this insurance applies.” Westchester Ex. 46 at 5; Ex. 47 at 3; Ex. 48

   at 10 (emphasis added). “Property damage” is defined to include loss of use of tangible property.

   An inability to sell the units is certainly a loss of use.

           Moreover, the policy covers damages “because of” property damage. The “common,

   popular and ordinary meaning” of “because of” is “as a consequence of” or “arising from.” See

   American Home Assur. Co. v. Libbey Owens Ford Co., 786 F.2d 22, 26-27 (1st Cir. 1986)

   (property damage is reasonably interpreted to mean all liability arising from such damage,

   including consequential damages.)          As one commentator has stated:

           Courts must initially determine whether consequential damages follow either a
           direct physical injury to tangible property or a loss of use of tangible property . . .
           If either of the two prongs of the “property damage” definition have been satisfied
           consequential damages may constitute property damage . . . [and] a loss arising
           from “property damage” is recoverable whether or not the loss is tangible.

   Barry R. Ostrager and Thomas R. Newman, Handbook on Insurance Coverage Dispute, §

   7.03[b][2][D](9th ed. 1995).          Accord, Policy Holder’s Guide to Insurance Coverage §

   7.01[D][3]:

           [I]t is incorrect to begin the coverage analysis by focusing upon . . . the claimant’s
           prayer for damages, and then to summarily conclude that the claims is one for
           “pure economic loss.” Pure economic loss is simply loss that results from neither
           bodily injury or property damage. Therefore, only after first analyzing the claim

     awkwardness to make clear that the exclusion applies only to building parts on which defective work was
     performed, and not to the building generally.”)

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           for consistency with the property damage definition can the claim be labeled as
           one for either “property damage” or “pure economic loss.”

           California courts follow these principles. See, e.g., Hendrickson v. Zurich AM. Ins. Co.,

   85 Cal. Rptr. 2d 622, 626-27 (Cal. Ct. App. 1999) (“the alleged loss of profits or diminution in

   property value are not solely economic losses, but constituted “damages because of property

   damage.”) (emphasis added); Geddes & Smith, Inc. v. Saint Paul Mercury Indem. Co., 63 Cal. 2d

   602 (1965) (awarding damages for overhead expenses, including additional payment to

   employees such as supervisors, secretaries, and administrators as well as repairmen, and

   expenses incurred in order to placate those threatening legal action, as such expenses were

   incurred because of property damage); see also Ticor Title Insur. Co., v. Employers Insur. Of

   Wausau, 40 Cal. App. 4th 1699, 1706 (1995) (explaining that if a primary injury is covered

   under a policy, the economic loss stemming from that injury is likewise covered; e.g., if an

   injured pedestrian becomes permanently disabled from an accident, a CGL policy would cover

   economic loss in the nature of lost career earnings because it results from the bodily injury.)

   Westchester’s reliance on authorities that involve either stand alone claims for defective work

   (“that particular part”) or pure economic loss, are therefore distinguishable. See Opp. Mem. At

   21 n.106.

           Peninsula II engaged contractors, engineers and consultants to design and execute the

   repairs and remediation of the property damage caused by CDW. Costs for the repairs accrue on

   a daily basis, and include direct costs of repairs, such as costs to tear out and replace corroded

   metal fixtures and piping, and costs to tear out and replace non-defective building materials to

   access damaged property, including unit-specific finishes and improvements, and the costs of

   inspections, testing and other consulting fees.




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             In addition to multi-million dollar costs to repair and replace tangible property damaged

   by the CDW, the loss of use of Condominium units due to the existence of CDW also constitutes

   “property damage” and is covered by the policies. For example, Peninsula II has been unable to

   sell inventory units that are affected by CDW. This inability to sell inventory - - a loss of use of

   tangible property - - constitutes “property damage.”                 It also reflects damages “because of”

   property damage. Likewise a homeowner’s inability to stay in his unit during remediation has

   lost the use of his property. This loss of use likewise constitutes property damage and is

   covered.

             In short, while the carrying costs, relocation costs and other damages at issue reflect loss

   of use, standing alone, the basic insuring agreement more broadly covers damages “because of”

   property damage - - both physical injury as well as loss of use - - caused by CDW. Specific

   categories of damages covered in this sense include the following:

             •   Costs to relocate unit owners as repairs are undertaken. Specifically, rental costs for
                 replacement housing, costs to move unit owners’ possessions and furniture, and costs
                 to store unit owners possessions and furniture while their units are repaired;
             •   Peninsula II’s “carrying costs” for units that Peninsula II still owns and cannot be sold
                 until repairs are completed. These are costs being incurred by Peninsula II to
                 maintain ownership of these units until they can be repaired and sold, including
                 utilities, HOA fees, taxes and interest. As soon as a unit is repaired and available for
                 sale, Peninsula II’s damages model stops accruing these costs.
             •   Additional Management costs incurred to manage the repair;
             •   Costs associated with the bulk sale of certain units at below market price in December
                 2009.8

   The majority of Peninsula II’s damages fall squarely under the definition of “property damage.”

   They involve physical injury to tangible property, including loss of use of that property or loss of




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       The vast majority of the units at Peninsula contain CDW, but some did not. To remain in business, with some
       cash flow, Peninsula II was required bulk sell many of the units without CDW, at prices far below market value
       because the surrounding units were impacted. At best Westchester raises an issue of material fact whether this
       loss reflect “damages because of property damage.”

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   use of tangible property that is not physically injured. The remainder of Peninsula II’s damages

   reflect covered damages “because of property damage.”

           In sum, the OCIP policies do not simply protect against liability for “property damage.”

   They protect against all liability for damage “because of . . . property damage” including

   consequential losses flowing from that property damage. Exclusion j(6) is inapplicable and does

   not preclude coverage here.

           C.     Westchester is not entitled to summary judgment on any obligation for
                  defense costs.

           The plain language of Westchester’s policy defeats its attempt to escape its obligation to

   pay defense costs or expenses once the underlying insurance is exhausted. Specifically, The

   policy provides coverage for defense costs under Condition F which provides:

           F. Expenses. Loss and legal expenses incurred by the insured with the consent to
           the company in the investigation or defense of claims, including court costs and
           interest, shall be borne by both the company and the insured in the proportion that
           each party’s share of loss bears to the total amount of such loss. Salaries and
           expenses of the insured’s employees shall not be considered as part of the above
           expenses.

   Westchester Ex. 49 at 26. Indeed, Westchester’s William Schmaltz agreed. See Schmaltz Depo

   54:5-10 (“If [American Home has] paid, I believe their duty to defend ends, and then at that

   point the insured needs to defend themselves, and we’ll pay expenses or we will - - will work

   with them.”); 61:5-7 (“we would be responsible for some percentage of the defense costs if our

   policy was responding to the loss, yes.”) As set forth above, American Home has agreed to pay

   defense costs incurred by Peninsula II, Gryphon and Skyline through June 2, 2011, when its

   limits were exhausted. From that point forward, Westchester’s obligation under the above

   referenced provision are triggered.




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           The Westchester policy also provides that Westchester agrees to “pay on behalf of the

   insured for that amount of loss which exceeds the amount of loss payable by [American Home.]”

   Westchester Ex. 49 at 2. Under the American Home policies, once American Home exhausts the

   underlying coverage it is no longer liable for defense costs. Therefore, under the plain language

   of the Westchester policy, Westchester is liable to pay on Peninsula II’s behalf all loss in excess

   of American Home’s obligation, including defense costs. Nothing in the Westchester policy

   excludes defense costs from the definition of “loss.” SOF #43. Thus, defense costs also reflect

   “losses” that Westchester has an obligation to pay on behalf of Peninsula II once American

   Home’s policy exhausts.

                            a.        Defense costs paid by American Home are not subject to
                                      summary judgment.
           American Home agreed to pay $1.6 million in defense costs to Peninsula II, so Peninsula

   II has withdrawn from its damages summary defense costs incurred through June 2, 2011, the

   date of the American Home settlement. This amount includes certain costs incurred for ATC

   Associates, Inc, Applied Technical Services, Inc, Delta Consulting Group, Inc., Environ, Sage

   Ventures, Angelo & Banta, Carlton Fields, and Daniels Kashtan Downs. Peninsula II is no

   longer seeking to recover in this action defense costs paid by American Home, and will reduce

   its total damages claim accordingly.

                            b.        Matco, SDM, WJE consultants fees are not “defense costs”
           Peninsula II is entitled, however, to recover from Westchester amounts paid to Matco

   Services (“Matco”), SDM Engineers (“SDM”), and Wiss Janney Elstner (“WJE”) because they

   are not defense costs.        SDM is solely engaged in work associated with repair of affected units.

   Response to SOF #44.            As such, these costs are not properly categorized as defense or

   investigative. The vast majority of the work that Matco and WJE performed, including nearly all

   of their work since August 2010, was for repair and remediation. Id. Peninsula II disputes that

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   services provided to assist in the repair of units are “defense” costs. At a minimum, there is a

   dispute of fact about whether any of the Matco or WJE costs are investigative costs under

   AeroJet, which cannot be resolved on summary judgment.

                           c.    Repair costs are not defense costs.
           In its last gasp, Westchester tries to escape its obligations by contending that all repair

   costs constitute defense costs under the holding of the California appellate court decision,

   Barratt American, Inc. v Transcontinental Ins. Co. (Opp. Mem. at 16, citing 102 Cal. App. 4th

   848 (Cal. App. 4th Dist. 2002.)       Of course, Westchester and its affiliated entities would

   vigorously oppose - - indeed express outrage - - at this notion in cases where it provided the

   primary layer of coverage to an owner or builder. If it were correct, a $50 million repair could

   be covered as “defense costs” payable on top of limits, under a $1 million policy. While many

   contractors would welcome that finding, Westchester’s argument fails.            First, Barratt is

   grounded in the Foster-Gardner decision, which for the reasons discussed above does not apply

   to the policies here.    Second, the Barratt court ruled that costs to repair a non-plaintiff’s

   property, if found to be reasonable and necessary to defend an existing lawsuit, could be

   recoverable as defense costs. The holding does not stand for the blanket proposition that all

   repair costs may equate to defense costs. In any event, here, in contrast, Peninsula II has

   incurred costs to repair property damage to resolve its liability, which under the holding of

   AeroJet General, a case also relied up on by Westchester,9 means these costs do not constitute

   defense costs.

           V.       CONCLUSION

           For the foregoing reasons, Defendant/Third Party Plaintiff Peninsula II respectfully

   requests that Westchester’s Motion for Summary Judgment be denied in its entirety.




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   Dated: June 29, 2011                 Respectfully submitted,



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       See Opp. Mem. at 24 n.116, 26.

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on June 29, 2011, I electronically filed the foregoing document with

   the Clerk of Court by using the CM/ECF system.

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